The defendant was indicted upon St. 1820, c. 45, § 1, which enacts that “ every hawker, peddler, petty chapman, or other person going from town to town &amp;c., carrying to sell, or exposing for sale, any goods &amp;c., shall &amp;c. forfeit &amp;c., provided however, that nothing herein shall prohibit any person from carrying abroad and selling- or exposing for sale &amp;c., any goods &amp;c. of the produce or manufacture of the United States, except ” &amp;c.The indictment charged the defendant with carrying to sell and exposing for sale goods &amp;c., not being of the produce or manufacture of the United States.1 Here the negative is part of the description of the offence, which brings the case within the reason of Rex v. Rogers, 2 Campb. 654.